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 1   THOMAS A. JOHNSON, #119203
     400 Capital Mall, Suite 1620
 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Jesse Wheeler
 4
 5                       IN THE UNITED STATES DISTRICT COURT
 6                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8
     UNITED STATES OF AMERICA,                  )   Case No.: 2:11-cr-00504-WBS
 9                                              )
                  Plaintiff,                    )   STIPULATION AND ORDER FOR
10                                                  CONTINUANCE OF JUDGMENT AND
                                                )   SENTENCING AND MODIFICATION
11         vs.                                  )   OF SCHEDULE FOR PSR
                                                )
12                                              )
13   JEWEL HINKLES, et al.,                     )
               Defendants.                      )
14                                              )
15                                              )
16
17         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the

18   Judgment and Sentencing scheduled for all Defendants on March 31, 2014, at 9:30 a.m. is

19   continued to June 30, 2014, at 9:30 a.m. in the same courtroom. The continuance is

20   requested because defense counsel for Jesse Wheeler will be in trial on March 31, 2014,

21   and needs additional time to prepare for the Pre-Sentence Report (PSR). Lee Bickley,

22   Assistant United States Attorney, and Jerome Kaplan, attorney for Jewel Hinkles, John

23   Manning, attorney for Cynthia Corn, Kirk McAllister, attorney for Brent Medearis, and

24   Thomas A. Johnson, attorney for Jesse Wheeler, agree to this continuance.

25
26   IT IS SO STIPULATED.

27
28

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     DATED: March 10, 2014
 1                                           By:     /s/ Thomas A. Johnson
                                                    THOMAS A. JOHNSON
 2                                                  Attorney for Defendant
                                                    JESSE WHEELER
 3
 4
     DATED: March 10, 2014
 5                                           By:     /s/ Thomas A. Johnson for
                                                    JEROME KAPLAN
 6                                                  Attorney for Defendant
                                                    JEWEL HINKLES
 7
     DATED: March 10, 2014
 8                                           By:     /s/ Thomas A. Johnson for
                                                    JOHN MANNING
 9                                                  Attorney for Defendant
                                                    CYNTHIA CORN
10
     DATED: March 10, 2014
11                                           By:    /s/ Thomas A. Johnson for
                                                    KIRK MCALLISTER
12                                                  Attorney for Defendant
                                                    BRENT MEDEARIS
13
14   DATED: March 10, 2014                          BENJAMIN B. WAGNER
                                                    United States Attorney
15
                                              By:   /s/ Thomas A. Johnson for
16                                                  LEE BICKLEY
                                                    Assistant United States Attorney
17
18   IT IS SO ORDERED.
     Dated: March 11, 2014
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             Case 2:11-cr-00504-WBS Document 160 Filed 03/11/14 Page 3 of 3



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 4
                                 IN THE UNITED STATES DISTRICT COURT
 5
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
 7                                                  )   Case No.: 2:11-cr-00504-WBS
     UNITED STATES OF AMERICA,                      )
 8                                                  )   MODIFICATION OF SCHEDULE FOR
                    Plaintiff,                      )   PRE-SENTENCE REPORT AND FOR
 9                                                  )   FILING OF OBJECTIONS TO THE PRE-
            v.                                      )   SENTENCE REPORT
10                                                  )
                                                    )
11                                                  )
     JEWEL HINKLES, et al.,
                                                    )
12                  Defendants.                     )
13
14   Judgment and Sentencing date:                              June 30, 2014
15
     Reply or Statement                                         June 23, 2014
16
     Motion for Correction of the Pre-Sentence
17   Report shall be filed with the court and                   June 16, 2014,
18   served on the Probation Officer and opposing
     counsel no later than:
19
     The Pre-Sentence Report shall be filed with
20   the court and disclosed to counsel no later                June 9, 2014          __
21   than:

22   Counsel’s written objections to the Pre-
     Sentence Report shall be delivered to the                  June 2, 2014
23   Probation Officer and opposing counsel
24   no later than:

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